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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

  CENTER FOR BIOLOGICAL
  DIVERSITY, et al.,

             Plaintiffs,

             v.                                       CASE NO. 1:21-cv-00119 (RDM)

  U.S. ENVIRONMENTAL
  PROTECTION AGENCY, et al.,

             Defendants.


       UNOPPOSED MOTION TO SET ORAL ARGUMENT ON MOTION FOR
    TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION BY
     PLAINTIFFS CENTER FOR BIOLOGICAL DIVERSITY AND SIERRA CLUB

        Plaintiffs Center for Biological Diversity and Sierra Club (“Plaintiffs”) respectfully move

the Court to set oral argument on their Motion for Temporary Restraining Order and Preliminary

Injunction, Dkt. 135, for the week of January 29 to February 2, 2024. In accordance with LCvR

65.1(d), Plaintiffs state the following facts:

        1.        On December 4, 2023, Plaintiffs filed a Motion for a Temporary Restraining

Order and Preliminary Injunction, requesting a decision by December 7, 2023, to prevent the

imminent issuance of state 404 permits for two projects that will destroy the habitat of, and result

in take of, the ESA-listed Florida panther and crested caracara, and cause Plaintiffs irreparable

harm: the Bellmar and Kingston projects. Dkt. 135.

        2.        As described in the motion, the issuance of these permits had become imminent

once the Florida Department of Environmental Protection (“FDEP”) issued a final 30-day public

notice for the Bellmar State 404 Permit Application on November 6, 2023, and for the Kingston

State 404 Permit Application on November 20, 2023. Id. at 8, 11–12.



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       3.      FDEP and the Federal Defendants declined Plaintiffs’ subsequent requests to

postpone action on the permits until the Court rendered judgment on their claims related to ESA-

listed species. Id. Although EPA retained the right to comment on the permit applications, it

could waive that right at any time and without notice to the Plaintiffs, thereby allowing the state

permits to issue. Id. at 11–12.

       4.      On December 5, 2023, the Court held a status conference. During the hearing,

counsel for the U.S. Environmental Protection Agency (“EPA”) advised the Court that he

believed EPA would not act with regard to the permits for perhaps two weeks or more. The

Court then ordered EPA to provide notice with respect to timing for this litigation by December

6, 2023, and ordered the parties to file a joint status report with respect to a briefing schedule by

December 7, 2023. Minute Order, Dec. 5, 2023.

       5.      On December 6, 2023, EPA filed a Notice Regarding Timing of Action on

Pending Permits. Dkt. 137. In that Notice, EPA committed to the Court that the agency would

not take any action before January 26, 2024, with respect to the Bellmar permit, and would not

take any action February 9, 2024, as to the Kingston permit. Id. at 1.

       6.      On December 7, 2023, the parties filed a Joint Status Report. Dkt. 138. In that

report, the parties advised the Court that counsel for the Defendant-Intervenors had informed the

Parties that FDEP would not be in a position to make a final determination on the Bellmar and

Kingston permits before February 5, 2024. Id. at 2. The parties thus agreed that a decision on

these permits could not issue before February 5, 2024. Id.

       7.      In light of the opposing parties’ representations, Plaintiffs agreed to a briefing

schedule that would allow the Federal Defendants and Intervenors to respond to the Motion by

January 12, 2024, and for Plaintiffs to file a reply by January 26, 2024. Id.



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         8.     Plaintiffs requested that the Court rule on the TRO by (Friday) February 2, 2024,

id., to prevent irreparable harm to Plaintiffs’ interests, as the permits may issue as soon as

(Monday) February 5, 2024.

         9.     Plaintiffs submitted that the proposed schedule was consistent with the Court’s

indication at the status conference that it would require a week from the conclusion of briefing to

rule on the request for a TRO. Id.

         10.    Plaintiffs also noted that the proposed schedule would allow the opportunity for

the Court to hold oral argument after the conclusion of briefing and before February 2, 2024. Id.

         Based on the foregoing, Plaintiffs submit that they have established that expedition is

essential, see LCvR 65.1(d), and respectfully request that the Court set oral argument on this

matter for the week of January 29 to February 2, 2024.

         In accordance with LCvR 7(m), Plaintiffs have conferred with counsel for the Federal

Defendants, Florida Intervenors, and Tarpon Blue Silver King I, LLC d/b/a Collier Enterprises

Intervenors, who have advised Plaintiffs that they do not oppose the relief requested. Opposing

counsel have also advised the Plaintiffs that they are available on February 1, 2024 (as are

counsel for the Plaintiffs). Counsel for the Federal Defendants have further advised Plaintiffs

that they are not available on January 31, 2024.

Dated:          January 9, 2024

                                                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 9th day of January 2024 I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.

                                                    Respectfully submitted,

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